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OF TEXAS






NO. WR-61,434-05






EX PARTE RICHARD TAYLOR, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 01CR034 IN THE 349TH DISTRICT COURT


FROM HOUSTON COUNTY






	Per curiam.


O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus. Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of aggravated assault
and sentenced to twelve years' imprisonment. He did not appeal his conviction.

	Applicant contends, among other things, that he is being denied credit for time spent on
erroneous release. Applicant has alleged facts that, if true, might entitle him to relief. Ex parte Hale,
117 S.W.3d 866 (Tex. Crim. App. 2003); Ex parte Rowe, 277 S.W.3d 18 (Tex. Crim. App. 2009).
In these circumstances, additional facts are needed. As we held in Ex parte Rodriguez, 334 S.W.2d
294, 294 (Tex. Crim. App. 1997), the trial court is the appropriate forum for findings of fact.

	The trial court shall order the Texas Department of Criminal  Justice's Office of the General
Counsel to file an affidavit stating whether Applicant was erroneously released from TDCJ-CID on
February 20, 2004. The affidavit should also state whether Applicant has submitted his claim to the
time credit resolution system of TDCJ and, if so, the date his claim was submitted.

	The trial court may also order depositions, interrogatories or a hearing. In the appropriate
case, the trial court may rely on its personal recollection. Id. If the trial court elects to hold a hearing,
it shall determine whether Applicant is indigent. If Applicant is indigent and wishes to be represented
by counsel, the trial court shall appoint an attorney to represent him at the hearing. Tex. C ode Crim.
Proc. art. 26.04.

	The trial court shall make findings of fact first as to whether Applicant has properly
exhausted his administrative remedies as required by Tex. Gov't Code § 501.0081(b)-(c).  The trial
court shall then make findings as to whether Applicant was erroneously released and, if so, whether
he is receiving the proper amount of time credit for that time. The trial court shall also make any
other findings of fact and conclusions of law that it deems relevant and appropriate to the disposition
of Applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues. The
issues shall be resolved within 90 days of this order. If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order. Any extensions of time shall be
obtained from this Court. 

Filed: June 24, 2009

Do not publish


